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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


LAMONTE MCINTYRE, et al.,                       )
                                                )
        Plaintiffs,                             )
                                                )
v.                                              )        Case No. 2:18-cv-02545-KHV-KGG
                                                )
UNIFIED GOVERNMENT OF                           )
WYANDOTTE COUNTY AND                            )
KANSAS CITY, KS, et al.,                        )
                                                )
        Defendants.                             )
                                                )

     PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR MOTION TO COMPEL
              PRODUCTION OF DOCUMENTS AND ANSWERS FROM
                      DEFENDANT ROGER GOLUBSKI

        Plaintiffs Lamonte McIntyre and Rose McIntyre (“Plaintiffs”), by and through their

counsel, submit this Memorandum of Law in Support of their Motion to Compel Production of

Documents and Answers from Defendant Roger Golubski. Plaintiffs seek to compel answers to

their Second Set of Interrogatories to Defendant Golubski (“Second Interrogatories”) and

production of certain documents responsive to their Third Request for Production of Documents

and Things to All Defendants (the “Third Requests”).

        Although the parties have attempted to resolve their disputes without court intervention,1

Defendant Golubski’s refusal to provide the requested information and documents has required




1
  Plaintiffs hereby certify that they have satisfied the requirements of District of Kansas Rule 37.2 On
April 23, 2021, they sent a comprehensive letter to Golubski’s counsel addressing all of Golubski’s
objections to Plaintiffs’ Third Request for Production and Second Set of Interrogatories. On May 11, 2021
and June 22, 2021, counsel for Plaintiffs and Defendant Golubski participated in two meet and confer phone
conferences to address Golubski’s objections, but later communications proved that further discussion on
the issues described herein would be futile.
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Plaintiffs to move this Court to compel Golubski to answer and produce documents in response to

outstanding interrogatories and requests for production, as further described in this memorandum.

                                  FACTUAL BACKGROUND

       This civil rights lawsuit is being brought against the Unified Government of Wyandotte

County and Kansas City, Kansas (the “UG”), numerous former KCKPD detectives, and Defendant

Roger Golubski (“Golubski”) for his decades of misconduct and corruption causing the 1994

wrongful conviction of Lamonte McIntyre (“McIntyre”) for a double homicide he did not commit.

As noted in Plaintiffs’ Memorandum in Support of its Motion to Compel the UG (the “Motion to

Compel the UG”) (Doc. 309), Plaintiffs Lamonte and Rose Lee McIntyre allege Golubski had a

pattern and practice of taking payoffs, protecting powerful drug dealers from arrest, shaking down

street-level dealers, sexually assaulting vulnerable women and using them as “informants,” and

framing innocent persons for crimes they did not commit by manipulating and coercing witnesses,

fabricating evidence, withholding evidence, and by deliberately failing to take basic investigative

steps that would have exonerated Plaintiff.

       On February 18, 2021, Plaintiffs served their Third Requests2 and Second Interrogatories3

on Defendant Golubski. The Third Requests are identical to those propounded on the Defendant

UG, which were the subject of the Motion to Compel the UG (See Docs. 308, 309), which was

granted in part. For purposes of this Motion, the only document requests that appear to remain in

dispute as to Defendant Golubski are Requests No. 94 (which seeks information relating to

Defendant Golubski’s insurance, beneficiaries, and offspring) and No. 132 (regarding Ethel

Abbott, Defendant Golubski’s ex-wife).


2
  A copy of Plaintiffs Third Request for the Production of Documents and Things to All Defendants is
attached as Exhibit 1.
3
  A copy of Plaintiffs Second Set of Interrogatories to Defendant Golubski is attached as Exhibit 2.
                                                 2
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        Defendant Golubski provided his objections and responses to the Third Requests and

Second Interrogatories on April 5, 2021.4 To all but three Requests,5 Defendant Golubski asserts

that he “does not have any responsive documents in his custody or control.” In response to the

remaining requests, Golubski objects on the basis of relevance, proportionality, vague and

ambiguous, and overbreadth. Golubski also simultaneously invokes the Fifth Amendment

asserting that “Defendant Golubski will not produce any such documents on Fifth Amendment

grounds.” Further, in response to twelve of the thirteen interrogatories, Golubski repeats some

version of the boilerplate objection below:

        Objection. Golubski’s ____ if any, are not relevant to the substantive claims or defenses in
        this matter and are not proportional to the needs of the case as such information would have
        nothing to do with the 1994 events in question. Further, objecting, the request improperly
        seeks information about ability to pay a judgment prior to a judgment being entered.
        Pipeline Prods., Inc. v. Madison Cos., LLC, at *5-6 (D. Kan. March 22, 2019) (“discovery
        about a litigant’s ability to pay a judgment is generally not permissible until a judgment is
        entered”). The request seeks overly broad information in scope and time range about
        financial condition or net worth as it seeks more information than needed. Id. at *8-10
        (“only records of defendants’ present financial state are within the scope of discovery, and
        all other records are facially overbroad”). Finally, Defendant Golubski will not answer on
        Fifth Amendment grounds.6

        By letter dated April 23, 2021, Plaintiffs provided Golubski with a list of deficiencies in

his responses,7 including (1) Golubski’s failure to provide any documents,8 (2) that the boilerplate



4
  A copy of the Defendant’s Responses and Objections to Plaintiffs’ Third Request for the Production of
Documents and Things is attached as Exhibit 3 and a copy of Defendant’s Answers and Objections to
Plaintiffs’ Second Set of Interrogatories is attached as Exhibit 4.
5
  Initially, Golubski also objected to Request No. 95, which seeks information relating to Golubski’s
residences or mailing addresses in the State of Missouri, but has since supplemented his response and now
states: “Defendant Golubski does not have any responsive documents in his possession, custody or control.”
6
  See Ex. 4.
7
  A copy of Plaintiffs’ April 23, 2021 Letter to Defendant’s counsel, Morgan Roach, is attached as
Exhibit 5.
8
  On July 8, 2021 – months after Plaintiffs’ Golden Rule letter was received – Defendant Golubski
provided two redacted documents in response to Request No. 94, both of which are insufficient to
fully respond to Plaintiffs request.
                                                  3
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objection Defendant copied and pasted to all Interrogatories lacked any factual or legal basis, (3)

that each Interrogatory has a direct correlation to the allegations made against Defendant Golubski

and/or are relevant to punitive damages, and (4) that Golubski’s Fifth Amendment assertions are

improper and insufficient to excuse him from answering or responding to Plaintiffs’ discovery.

Further, Plaintiffs requested a privilege log for any privilege assertions. Golubski provided no

written response.

       On May 15, 2021, counsel for both parties met via telephone conference to discuss the

issues raised in Plaintiffs’ April 23 letter. During that conference, Defendant’s counsel orally

represented that Golubski did not have possession, custody, or control of documents responsive to

most requests for production, and that he would talk with his client about Requests No. 94, 95, and

132 to determine whether documents responsive to such requests existed and whether Golubski

would waive or otherwise withdraw his objections and Fifth Amendment invocation. On June 22,

2021, counsel for both parties again met and conferred regarding the above issues. Counsel for

Defendant agreed to supplement Golubski’s answers – which were provided to Plaintiffs on July 2,

20219 – and to produce documents relating to insurance and beneficiaries (in response to Request

No. 94) – which were provided to Plaintiffs on July 8, 2021.10 Golubski provided two categories

of documents in response to Plaintiffs requests: (1) a 7-page document containing beneficiary

information for three financial accounts, KPERS, Zurich, and ICMARC – which was redacted for

“non-responsiveness”; and (2) a 20-page partial homeowners insurance policy from Auto Club

Family Insurance Company.



9
  A copy of Defendant’s Supplemental Answers and Objections to Plaintiffs’ Second Set of Interrogatories
is not attached here as Defendant Golubski designated the same as “confidential and privileged.”
10
   A copy of Defendant’s Second Supplemental Responses and Objections to Plaintiffs’ Third Request for
the Production of Documents and Things is attached as Exhibit 6.
                                                   4
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           On August 5, 2021 Plaintiffs counsel again requested a privilege log from Golubski to

determine what information was being redacted in the produced documents, and what information

was being withheld by Golubski based on his Fifth Amendment invocations. On August 19,

Golubski’s counsel sent a written response to the request for a privilege log,11 stating, among other

things, that another version of the documents provided on July 8 was forthcoming, as Defendant

Golubski “initially produced a partial document and because we are withdrawing some of our prior

redactions.” In connection with this letter, Defendant produced the same 7-page document

containing beneficiary information from July 8, but the four pages of “non-responsive” redactions

were removed, and four additional pages of redaction stating “5th Amendment” were added.

           Despite these “supplemental” productions and answers, Golubski has still failed to

substantively answer numerous Interrogatories or to produce all documents responsive to at least

two Requests. Accordingly, further discussion on these issues with Defendant would be

unproductive and Court intervention is required. As a result, Plaintiffs have brought the present

motion.

                                                    ARGUMENT

           Despite Plaintiffs’ thorough description of (1) the relevance of each disputed discovery

request and (2) the inapplicability of Golubski’s objections, Golubski still refuses to produce

answers to Plaintiffs’ Interrogatories No. 1, 4, 5, 6, 9, 11, and 13. Likewise, his production of a

partial insurance contract, and heavily redacted beneficiary information for his current financial

accounts (e.g. those in place after the filing of this lawsuit) are insufficient to respond to Plaintiffs’

requests. For the reasons listed above and discussed more fully below, Defendant Golubski should

be compelled to produce responsive documents and information relating to his beneficiaries, his


11
     A copy of Defendant’s August 19, 2021 Letter to Plaintiffs is attached as Exhibit 7.
                                                            5
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proceeds from illegal activity and misconduct, his harassment and stalking of women, and his

finances.

     A. Golubski’s Boilerplate Objections Are Insufficient.

        The Federal Rules of Civil Procedure allow “discovery regarding any nonprivileged matter

that is relevant to any party's claim or defense and proportional to the needs of the case.” Fed. R.

Civ. P. 26(b)(1). Under the federal rules, relevance is to be “broadly construed at the discovery

stage of the litigation and a request for discovery should be considered relevant if there is any

possibility the information sought may be relevant to the subject matter of the action.”12 Further,

once this low burden of relevance has been established, the legal burden regarding the defense of

a motion to compel resides with the party opposing the discovery request.13

        Additionally, the District of Kansas strongly disfavors conclusory and boilerplate

objections.14 As the responding party, Defendant Golubski had the burden “to clarify and explain

how each discovery request is irrelevant” and “not reasonably calculated to lead to the discovery

of admissible evidence.”15 Accordingly, Golubski “cannot rely on his boilerplate objections alone,

but rather must provide specific support for these objections.”16 Instead, after months of dialogue,

Golubski has still failed to specify how each request or interrogatory is irrelevant, overbroad, or

what particular harm would accrue if Defendant Golubski were required to respond or answer.17



12
   Smith v. MCI Telecomm. Corp., 137 F.R.D. 25, 27 (D. Kan. 1991); Design Basics, L.L.C. v. Strawn, 271
F.R.D. 513, 523 (D. Kan. 2010).
13
   See Swackhammer v. Sprint Corp. PCS, 225 F.R.D. 658, 661, 662, 666 (D. Kan. 2004).
14
   See Everlast World's Boxing Headquarters Corp. v. Ringside, Inc., No. 13-2150-CM-KGG, 2014 WL
2815515, at *4 (D. Kan. June 23, 2014)
15
   Cont’l Ill. Nat’l Bank & Tr. Co. v. Caton, 136 F.R.D. 682, 685 (D. Kan. 1991).
16
   Design Basics, L.L.C. v. Strawn, 271 F.R.D. 513, 519 (D. Kan. 2010); see also Emps. Com. Union Ins.
Co. of Am. v. Browning-Ferris Indus. of Kansas City, Inc., No. CIV. A. 91-2161-JWL, 1993 WL 210012,
at *2 (D. Kan. Apr. 5, 1993) (“The objecting party generally has the burden to substantiate its objections.”)
17
   See Gen. Elec. Cap. Corp. v. Lear Corp., 215 F.R.D. 637, 640 (D. Kan. 2003).
                                                     6
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Thus, Golubski’s responses are deficient, and to date, Defendant has provided no further basis,

reasoning, or explanation for his objections or his assertion of the Fifth Amendment in response

to discovery in this civil suit.

       B. Plaintiffs’ Third Requests for the Production of Documents are Relevant and
          Discoverable.

           For purposes of this Motion, only two of Plaintiffs’ Requests for Production are currently

disputed: Nos. 94 and 132.

               1. Request No. 132

           Request No. 132 states:

           Identify and produce true and correct copies of all documents pertaining to Ethel Abbott
           aka Ethel Spencer aka Ethel Golubski (DOB: 02/07/1965), including without limitation:

                   a. list of cases or incidents in which the individual was involved in any way,
                   including without limitation as a complainant, victim or witness, including a break-
                   in at her home and any incidents involving harassment or stalking by Roger
                   Golubski; and

                   b. all documentation reflecting or referencing interactions or relationships the
                   individual had with defendant Roger Golubski, including any directives or orders
                   by KCKPD supervisors/commanders to Golubski to refrain from stalking or
                   harassing the individual or requiring him to maintain a certain distance from the
                   individual.

           Despite Golubski’s boilerplate objections to relevance, proportionality, and vagueness,

Request No. 132 has already been deemed “relevant and discoverable” by this court in its July 28,

2021 Memorandum & Order Granting in Part Motion to Compel the UG (Doc. 365, p. 8-9). 18

Accordingly, Plaintiffs request the Court compel Defendant Golubski to produce all documents

responsive to Request No. 132, specifically documents that reflect or reference Golubski’s

relationship with Ethel (and the ending of that relationship) and communications with Ethel after

their separation and eventual divorce.


18
     For further argument on the relevance of Request No. 132, see Doc. 309, p.20.
                                                      7
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           2. Request No. 94

       Request No. 94 states:

       Identify and produce any and all documents, including any personnel documents, insurance
       applications, insurance policies, or documents of any kind, that list any beneficiaries,
       insureds, or dependent(s) of Roger Golubski, including any offspring and/or any spouses
       or domestic partners.

       In response to Request No. 94, Golubski agrees to “produce all responsive documents in

his possession, custody or control.” On July 8, 2021, Golubski produced two separate pdf

documents in response to this request: a portion of Golubski’s 2021 Homeowners insurance policy

and a 7-page document referencing Golubski’s life insurance. Since then, Golubski has

supplemented the 7-page document with four additional pages (for a total of 11), which are

redacted in full stating only “Fifth Amendment.” The 2021-2022 homeowner’s insurance policy

does not reflect or “list any beneficiaries, insureds or dependent(s) of Roger Golubski” as requested

in Request No. 94. Likewise, the 11-page document containing financial information refers

specifically to financial accounts issued to Golubski: a life insurance policy issued by Zurich

American Life Insurance Company and Golubski’s retirement account issued by KPERS (Kansas

Public Employees Retirement System). The unredacted portions of these documents only illustrate

that the “beneficiary” was changed to Matthew Golubski, Golubski’s son, in 2018 and 2021,

respectively. Golubski provides no further documents or information relating to his beneficiaries,

spouses, domestic partners, or offspring at or near the time of Plaintiffs’ wrongful conviction in

1994 or within the two decades since. Instead, the documents conveniently only reflect changes

Golubski made to his monetary funds after the filing of this litigation.

       As detailed to Golubski’s counsel in the two conferences regarding discovery, Plaintiffs

Request No. 94 seeks documents reflecting Golubski’s beneficiaries, insureds, dependents,

offspring, spouses, or domestic partners for the purpose of revealing (1) Golubski’s offspring in

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the community that he fathered with female “informants” or other female victims, and (2)

misconduct in investigations that involved individuals he was protecting, exploiting for sex, or was

related to. This information is directly relevant to Plaintiffs’ theory; it would definitively show

Golubski’s relationship to individuals he is accused of, among other things, coercing sex from, and

could provide evidence of motive, opportunity, or a common scheme or plan to provide favorable

treatment in exchange for leniency, or framing other individuals for crimes to protect those persons

with whom he had improper relationships or connections. Defendant Golubski agrees with the

importance of such an inquiry, as his contention interrogatories to Plaintiffs in June of 2021

specifically request that Plaintiffs identify every individual Golubski “by means of force, fear,

extortion, or coercion, engaged in a non-consensual sexual act(s) with.”

           3. Fifth Amendment Invocation

       In Defendant Golubski’s latest supplemental responses, he asserts in response to No. 132

that “based upon the objections, Defendant Golubski is withholding other potentially responsive

materials depending on the scope and propriety of the request” on Fifth Amendment grounds.19 To

be sure, the Fifth Amendment only protects a criminal defendant from being compelled to disclose

matters which would make him a witness against himself. Indeed, “the Fifth Amendment applies

only when the accused is compelled to make a testimonial communication that is incriminating.”20

The District Court of Kansas has previously held that in a civil case, the “the privilege against self-

incrimination does not protect one from producing documents, unless the act of production itself




19
   It is unclear from Defendant’s Supplemental Responses whether Defendant Golubski has withdrawn his
Fifth Amendment invocation as to Request No. 94, but regardless any such privilege was waived by
producing documents in response to the request. Nonetheless, if Golubski argues his Fifth Amendment
rights are implicated by Request No. 94, this section responds to that assertion as well.
20
   Thomas v. Tyler, 841 F. Supp. 1119, 1124 (D. Kan. 1993)
                                                  9
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could operate to incriminate the producer.”21 Here, the existence or production itself of responsive

information to Request No. 94 (insurance policies, beneficiaries, dependents, offspring, or

spouses) or Request No. 132 (incidents involving harassment or stalking by Golubski) would not

incriminate the Defendant, as most of the above are well-known in the community, and/or are

information also known to or in possession of the KCKPD, its employees, or other third-parties.

Further, Defendant Golubski already waived his right to invoke the Fifth Amendment in regard to

Request No. 94 by testifying freely about his offspring in his deposition.22 The Defendant should

not now be able to use the Fifth Amendment to withhold documents tending to refute his deposition

testimony. Regardless, even if the mere existence or possession of these documents could

incriminate Golubski, the District Court of Kansas has required a defendant invoking their Fifth

Amendment rights in a civil case to provide a privilege log in accordance with Fed. R. Civ. P.

26(b)(5) and to “adequately demonstrate the applicability of the privilege against self-

incrimination to each particular interrogatory and request for production,”23 which Defendant

Golubski has not done – despite repeated requests for such a privilege log.24 Interestingly, in

response to the request for a privilege log, Defendant Golubski’s counsel sent a letter on August 19,

2021, stating that it was not withholding any documents based on the Fifth Amendment in response

to Plaintiffs’ Third Requests, which directly conflicts with Defendant Golubski’s Supplemental

Responses. Further, under the collective entity doctrine, Defendant Golubski cannot invoke the




21
   Starlight Int'l, Inc. v. Herlihy, 181 F.R.D. 494, 498 (D. Kan. 1998); Thomas, 841 F. Supp. at 1130.
22
   Defendant Golubski testified that he had only “one” child, and then identified that child by name. See
Nov. 19, 2020 Deposition of Roger Golubski, p. 37.
23
   Starlight, 181 F.R.D. at 498.
24
   See Ex. 5. Additionally, Plaintiffs emailed counsel for Defendant Golubski on August 6 requesting the
same privilege log, and again emailed counsel for Defendant on August 17, but no privilege “log” has been
received to date.
                                                   10
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Fifth Amendment to avoid producing documents of the KCKPD that are in his custody, even if his

act of producing such documents might be personally incriminating.25

          Defendant Golubski has not even attempted to explain or clarify how the Fifth Amendment

could apply here. These failures are fatal to his invocation of the Fifth Amendment and such

invocation should be overruled. Thus, Plaintiffs request that the Court grant Plaintiffs’ Motion to

Compel Golubski to provide all documents in his possession, custody, or control responsive to

Requests No. 94 and 132.

              4. Conclusion Regarding Requests for Production

          Because Request No. 132 was already deemed relevant by this Court, and because

Golubski waived any objection to Request No. 94 by producing documents in response – and

regardless cannot support any of his objections to the discoverability of the documents requested

– Plaintiffs’ requests are clearly within the scope of discovery set forth in Fed. R. Civ. P. 26(b)(1).

Accordingly, Plaintiffs request this Court overrule Golubski’s unsupported Fifth Amendment

invocations and compel Golubski to provide complete copies of all documents, including any

personnel documents, insurance applications, insurance policies, or documents of any kind which

list or identify any beneficiaries, insureds, or dependent(s) of Roger Golubski, including any

offspring and/or any spouses or domestic partners – particularly any documents reflecting the

beneficiaries to Golubski’s life insurance, retirement, or other similar policies from 1994 to the

present.




25
     Thomas v. Tyler, 841 F. Supp. 1119, 1127-28 (D. Kan. 1993).
                                                    11
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      C. Plaintiffs’ Second Interrogatories are Relevant and Discoverable.

              1. Insufficiency of Golubski’s Interrogatory Answers

          As mentioned above, Defendant Golubski initially objected to and still refuses to provide

answers to several Interrogatories. On July 2, 2021, Golubski supplemented his initial refusals and

partially or fully responded to Interrogatories 1-3, 7, 8, 10, and 12. However, Defendant Golubski

answered “N/A” to Interrogatories 4-6, 9, 11, and 13. Despite the lack of clarity regarding what

“N/A” means (e.g. whether Golubski’s prior objections stand, or whether Golubski is answering

substantively that he has no information), for purposes of this Motion, Plaintiffs assume Defendant

Golubski is refusing to substantively answer such Interrogatories.

          First, Defendant Golubski’s boilerplate objection to each Interrogatory mentioned above,

illustrates his overly narrow interpretation of each request. He argues that seeking information

relating to Golubski’s income, retirement/pension, large amounts of cash, properties, automobiles,

etc. are solely to inquire about the Defendant’s “ability to pay a judgment.” But, as Plaintiffs

explained in their April 23 letter, each one of the Interrogatories has a direct correlation to the

allegations made against Defendant Golubski in the current action and are separately and

independently relevant to Plaintiff’s claims.26 Additionally, in his objections Golubski

misconstrues Pipeline Productions, Inc. v. Madison Companies, LLC. There, the court was

concerned that the request for financial documents or information was not related to plaintiff’s

claims, which is not the case here. Further, the Court in Pipeline also held that “information about

a party’s net worth or financial condition is relevant to the issue of punitive damages.”27 There is




26
     See Ex. 5.
27
     Pipeline Productions, Inc. v. Madison Companies, LLC, at *5-6 (D. Kan. March 22, 2019).
                                                    12
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no dispute Plaintiffs have alleged punitive damages in this case. See Complaint, Prayer for Relief,

¶ B.

         Despite this clear confirmation that Plaintiffs’ Interrogatories are relevant to punitive

damages or Golubski’s current financial state, any financial information requested is also relevant

to the allegations that Golubski was involved in the drug trade, prostitution, corruption, and

bribery, and thus Defendant Golubski should be compelled to answer questions related to

Golubski’s sources of income and current financial status, as further detailed below.

            2. Interrogatories 5, 9, and 11

         Interrogatories No. 1, 3, 5, 7, 8, 9, 10, and 11 all seek information relating to Defendant

Golubski’s (1) proceeds from criminal activity, misconduct, or inappropriate relationships with

informants or other individuals, or (2) connections to properties associated with the

unconstitutional conduct alleged in the Complaint. Because Defendant Golubski has substantively

responded to Interrogatories 1, 2, 7, 8, and 10, only the Fifth Amendment assertion as to

Interrogatory 1 and Interrogatories 5, 9, and 11 are currently in dispute.

         Although Defendant Golubski responds to some parts of Interrogatory No. 1, he

specifically objects to answering whether Defendant Golubski received or participated in

employment or income that resulted in “proceeds from criminal activity.” Golubski argues that the

Fifth Amendment allows him to refuse answering this Interrogatory, but gives no basis for this

assertion other than that it involves the term “criminal activity.” Regardless, as mentioned under

the “Fifth Amendment Invocation” Section above, supra pp. 9-11, Defendant Golubski’s assertion

of the Fifth Amendment here is insufficient. The Fifth Amendment privilege does not excuse a

party from answering a discovery request “merely because he declares that in so doing he would




                                                 13
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incriminate himself—his say-so does not of itself establish the hazard of incrimination.”28 Instead,

the party asserting the privilege must show that “a compulsory response to individual

questions…will pose a substantial and real hazard of subjecting them to criminal liability.”29

Indeed, as recently as 2020, the District Court of Kansas rejected a defendant’s reliance on the

Fifth Amendment privilege in response to 24 interrogatories in a civil suit.30 The Court determined

that the defendant’s “blanket assertion” of the privilege did not provide the Court with facts or

information from which it could determine whether the defendant’s concern of criminal

prosecution was reasonable.31 Accordingly, Defendant Golubski’s blanket assertion of the

privilege without even attempting to explain or support his invocation should be overruled.

       Further, Interrogatories Nos. 5 and 9 seek information regarding other potential methods

by which Defendant Golubski may have accepted, concealed, or invested proceeds of his

misconduct or illicit activity, including monies, cash, investments, or assets held by another for

Golubski’s benefit within the last five to ten years. These Interrogatories directly relate to the

conduct alleged in Plaintiffs’ Complaint – substantiated by sworn affidavits from Ethel Abbott,

K.D., Ruby Ellington, Joe Robinson and Cecil Brooks – that Golubski was corrupt, accepted bribes

or payoffs in cash, shook down drug dealers, participated in cash for drug transactions, received

other gifts in exchange for favors or protection and then used those drugs, cash, and other gifts

(among other things) to pay prostitutes for sex and engage in other transactions. See generally

Complaint, ¶ 113, 123-125. Defendant’s refusal to answer on Fifth Amendment grounds clearly

implies that he cannot simply deny these investments exist, and that his answers, if provided, would



28
   KCI Auto Auction, Inc. v. Ephrem, 2020 WL 5503350, *3 (D. Kan. Sept.11, 2020)
29
   Id.
30
   Id.
31
   Id.
                                                 14
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reveal that Golubski’s assets, properties, or investments were obtained, at least in part, through his

misconduct as a law enforcement officer. Thus, at the very least, any information obtained is likely

to lead to the discovery of admissible evidence if not directly relevant evidence supporting

Plaintiffs’ claims. As noted above, Golubski has failed to explain how the Fifth Amendment would

allow him to refuse answering these Interrogatories.

              3. Interrogatories 4 and 6.

          Interrogatories 4 and 6 seek information relating to Defendant Golubski’s current financial

state. Specifically, Interrogatory 4 seeks information relating to Golubski’s pension and retirement

benefits, and Interrogatory 6 seeks information relating to Golubski’s current bank accounts. To

be clear, Defendant Golubski admits that “records of defendants’ present financial state are within

the scope of discovery…” in his Objections to these Interrogatories.32 Plaintiffs agree. Indeed,

Defendant Golubski has already provided some unredacted documents referring to his KPERS and

ICMARC accounts, but redacted other apparently substantive account information on Fifth

Amendment grounds. Clearly, Golubski’s current retirement benefits (he is retired), and the

amount of money in his bank account directly bear on the Defendant’s present and past financial

state and should be produced. Defendant Golubski provides no legal authority or factual basis for

his Fifth Amendment or other objections to these Interrogatories.

              4. Interrogatory 13

          Interrogatory 13 seeks information relating to financial support Defendant Golubski has

provided to any person other than spouses since 1976. First, at its most basic level, Plaintiffs’

Complaint alleges that Defendant Golubski’s personal life (including his sexual coercion and

exploitation of poor, black, and often drug-addicted women in the Kansas City, Kansas


32
     See Ex. 4.
                                                  15
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community) violated his oath and his responsibilities as a KCKPD officer and detective. When it

served his purposes, Golubski protected certain individuals during his time as a KCKPD officer,

whether drug-dealers, prostitutes, or informants, while framing others for crimes they did not

commit, including Lamonte McIntyre. Defendant Golubski’s illicit relationships, the existence of

undisclosed offspring, or his financial support of certain individuals during the time he worked for

the KCKPD, is extremely relevant to showing his involvement with certain criminals, prostitutes,

and informants, as well as his misconduct in investigations that involved the same individuals he

was protecting, exploiting or coercing for sex, or using for information.33 Golubski provides no

supportable objection to this relevant request, and – again – provides no explanation for his Fifth

Amendment assertions.

            5. Other Insufficient Objections

        As noted above, Defendant Golubski has the burden “to clarify and explain how each

discovery request is irrelevant” and “not reasonably calculated to lead to the discovery of

admissible evidence.” Here, there is no specific description or other indication as to why Defendant

Golubski believes each Interrogatory is irrelevant, overbroad or what particular harm would accrue

if Defendant Golubski were required to respond. Simply repeating the request itself and asserting

they are irrelevant is insufficient.

        Defendant Golubski additionally objects to several Interrogatories (No. 1, 3, 11, and 13)

stating that they “cover[] an overly broad time range (approximately 45 years).” Additionally, as

part of Defendant’s relevance objection, he states in response to all Interrogatories (except No. 12)

that “such information would have nothing to do with the 1994 events in question.” First,




33
 See supra, Section B(2) relating to Request No. 94 for further discussion on the relevance of identifying
Golubski’s offspring and beneficiaries from 1994 to the present.
                                                   16
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Plaintiffs’ claims in this action are not limited to the events that took place in 1994, as the Court

has recognized in its Memorandum & Order Granting in Part Motion to Compel (Doc. 365).

Further, Plaintiffs allege – quite clearly – that Defendant Golubski’s unconstitutional misconduct

began many years before Plaintiff’s arrest and continued for many years after. See Complaint, ¶¶ 1,

33, 41, 108. Plaintiffs’ Complaint also alleges that the Unified Government, Defendant Golubski’s

supervisors and other KCKPD officers and policymakers were aware of Golubski’s misconduct

and potential illicit activity, but failed to take any steps to intervene, resulting in Plaintiff’s

wrongful conviction. See Complaint, ¶¶ 107-144. Accordingly, Plaintiffs are not limited in

discovery to the 1994 investigation into Lamonte McIntyre, but are entitled to full and open

discovery into Defendant Golubski’s prior and subsequent unconstitutional or illicit activity,

especially when the information or documents directly support Plaintiffs’ claims. See generally

Doc. 365. Thus, the fact that Plaintiffs are requesting information from 1976 – when Golubski’s

criminal and unconstitutional activities likely began – is not a sufficient basis for failing to fully

respond to Interrogatories 1, 3, 11, and 13.

          Notably, Defendant Golubski also objects to Interrogatories No. 5, 7, and 9, stating that the

“request is overly broad in time range as it seeks ten years of information” and Interrogatory No.

6 as it “seeks five years of information.” Golubski has cited no case law or applicable statute

restricting Plaintiffs’ discovery of relevant information to less than five or ten years. Instead,

Kansas courts have held that – in regard to temporal scope of discovery – information prior to the

liability period at issue “may be relevant to demonstrate the pattern and practice of…conduct

alleged by Plaintiffs.”34 In light of the extensive, decades-long allegations of misconduct by

Defendant Golubski, (not to mention Plaintiffs’ Monell claim, which requires Plaintiffs to prove


34
     Johnson v. Kraft Foods N. Am., Inc., 238 F.R.D. 648, 652 (D. Kan. 2006).
                                                     17
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municipal customs or practices that caused or led to the unconstitutional conduct)35 there is no

reasonable basis upon which Golubski should be allowed to refuse to answer the above-mentioned

Interrogatories based on temporal scope. Plaintiffs therefore request an order compelling

Defendant to fully answer Interrogatories 1, 3, 5, 7, 11, and 13.

      D. Relief Sought

          The above-mentioned Requests and Interrogatories clearly fall within the broad definition

of relevance under the Federal Rules of Evidence and applicable case law as the information sought

bears directly on Plaintiffs’ claims of misconduct against Defendant Golubski and Plaintiffs’

claims of a pattern and practice of misconduct. Because the requested documents and information

are relevant and will likely evidence Defendant’s long-standing pattern and practice of corruption,

conflicts of interest, misconduct in investigations, and outright illegal activity by Golubski –

including the wrongful conviction of Plaintiff Lamonte McIntyre and the assault of Plaintiff Rose

McIntyre – he should be required to conduct a full search of his records for responsive documents

and provide them to Plaintiffs. Plaintiffs have no other avenue to obtain these documents that bear

directly on whether Golubski’s illicit and unconstitutional conduct occurred prior to or continued

long after Plaintiff was wrongfully convicted, especially due to Golubski’s Fifth Amendment

invocations during both days that he was deposed in this lawsuit.

                                           CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court grant its motion to

compel, and order Defendant to produce any and all documents responsive to Plaintiffs’ Third Set

of Requests for the Production of Documents, specifically Requests No. 94 and 132 and to fully




35
     See C.F.B. v. Hayden, No. 16-2645-CM, 2019 WL 1299679 (D. Kan. March 21, 2019).
                                                   18
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and substantively answer Plaintiffs Second Set of Interrogatories to Defendant Golubski,

specifically including Interrogatories 1, 4-6, 9, 11, and 13.



Dated: September 13, 2021                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        The undersigned certifies that on the 13th day of September, 2021, the foregoing was electronically
filed with the clerk of the court using the CM/ECF system which will provide notice and service to all
counsel of record.


                                                 /s/ Alana McMullin
                                                 An Attorney for Plaintiffs




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